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Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 2 of 69
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                                                                           21CV05221
                                                                           Div11




                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                      Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 25 of 69




                                       Clerk of the District Court, Johnson County Kansas
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Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 26 of 69




                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                              Plaintiff                              Case No: 21CV05221
               vs                                                    Division: 11
                                                                     K.S.A. Chapter 60
TRANSUNION LLC
                              Defendant



                          REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for TRANSUNION LLC whose address for
service is:

      THE PRENTICE-HALL CORPORATION SYSTEM, KANSAS, INC., REGISTERED AGENT
2900 SW WANAMAKER DRIVE, SUITE 204
      TOPEKA, KS 66614


Certified mail service by the undersigned attorney, who understands that it is their responsibility to
obtain service and to make the return to the clerk. The postal receipt for service must be filed with the
Clerk's office to prove service.




                                              By: /s/ MARK D MOLNER
                                              MARK D MOLNER, #24493
                                              300 E 39TH STREET SUITE 1G
                                              KANSAS CITY, MO 64111
                                              816-200-2573




                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            10/29/21 04:04pm HS
         Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 29 of 69




               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                              Plaintiff                              Case No: 21CV05221
               vs                                                    Division: 11
                                                                     K.S.A. Chapter 60
TRANSUNION LLC
                              Defendant



                          REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for UNITED STATES DEPARTMENT OF
EDUCATION whose address for service is:

       GENERAL COUNSEL - U.S. DEPT. OF EDUC. 400 MARYLAND AVE. SW
       WASHINGTON, DC 20202


Certified mail service by the undersigned attorney, who understands that it is their responsibility to
obtain service and to make the return to the clerk. The postal receipt for service must be filed with the
Clerk's office to prove service.




                                              By: /s/ MARK D MOLNER
                                              MARK D MOLNER, #24493
                                              300 E 39TH STREET SUITE 1G
                                              KANSAS CITY, MO 64111
                                              816-200-2573




                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            10/29/21 04:04pm HS
         Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 30 of 69




               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                              Plaintiff                              Case No: 21CV05221
               vs                                                    Division: 11
                                                                     K.S.A. Chapter 60
TRANSUNION LLC
                              Defendant



                          REQUEST AND SERVICE INSTRUCTION FORM


To: Clerk of the District Court:


Please issue a SUMMONS and PETITION in this action for HIGHER EDUCATION LOAN
AUTHORITY OF THE STATE OF MISSOURI (MOHELA) whose address for service is:

       GENERAL COUNSEL - MOHELA 633 SPIRIT DRIVE
       CHESTERFIELD, MO 63005


Certified mail service by the undersigned attorney, who understands that it is their responsibility to
obtain service and to make the return to the clerk. The postal receipt for service must be filed with the
Clerk's office to prove service.




                                              By: /s/ MARK D MOLNER
                                              MARK D MOLNER, #24493
                                              300 E 39TH STREET SUITE 1G
                                              KANSAS CITY, MO 64111
                                              816-200-2573




                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            10/29/21 04:04pm HS
         Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 31 of 69



               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                               Plaintiff                                      Case No: 21CV05221
               vs                                                             Division: 11
                                                                              K.S.A. Chapter 60
TRANSUNION LLC
                               Defendant

                                               SUMMONS

To the above-named defendant:

        YOU ARE HEREBY NOTIFIED that an action has been commenced against you in this court.
You are required to file your answer to the petition with the court and to serve a copy upon the
plaintiff's attorney, as follows:


                               Name: MARK D MOLNER
                               Address: 300 E 39TH STREET SUITE 1G
                                        KANSAS CITY, MO 64111
                               Phone: (816) 200-2573


Within 21 days after service of summons upon you.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
attached petition, which is incorporated herein by reference. Any related claim which you may have
against the plaintiff must be stated as a counterclaim in your answer, or you will thereafter be barred
from making such claim in any other action.




                                                             /s/ Jennie Leach
                                                             Clerk of the District Court


Dated: November 1, 2021




                    Johnson County Court House, 150 W. Santa Fe St., Olathe, KS 66061
                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            11/1/2021 14:10:53 HS
         Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 32 of 69



               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                               Plaintiff                                      Case No: 21CV05221
               vs                                                             Division: 11
                                                                              K.S.A. Chapter 60
UNITED STATES DEPARTMENT OF EDUCATION
                    Defendant

                                               SUMMONS

To the above-named defendant:

        YOU ARE HEREBY NOTIFIED that an action has been commenced against you in this court.
You are required to file your answer to the petition with the court and to serve a copy upon the
plaintiff's attorney, as follows:


                               Name: MARK D MOLNER
                               Address: 300 E 39TH STREET SUITE 1G
                                        KANSAS CITY, MO 64111
                               Phone: (816) 200-2573


Within 30 days after service of summons upon you.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
attached petition, which is incorporated herein by reference. Any related claim which you may have
against the plaintiff must be stated as a counterclaim in your answer, or you will thereafter be barred
from making such claim in any other action.




                                                             /s/ Jennie Leach
                                                             Clerk of the District Court


Dated: November 1, 2021




                    Johnson County Court House, 150 W. Santa Fe St., Olathe, KS 66061
                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            11/1/2021 14:10:58 HS
         Case 2:21-cv-02539-JAR-ADM Document 5 Filed 11/19/21 Page 33 of 69



               IN THE DISTRICT COURT OF JOHNSON COUNTY, KANSAS
                           CIVIL COURT DEPARTMENT



JEFFREY GOOD
                              Plaintiff             Case No: 21CV05221
          vs                                        Division: 11
                                                    K.S.A. Chapter 60
HIGHER EDUCATION LOAN AUTHORITY OF THE STATE OF MISSOURI (MOHELA)
                    Defendant

                                               SUMMONS

To the above-named defendant:

        YOU ARE HEREBY NOTIFIED that an action has been commenced against you in this court.
You are required to file your answer to the petition with the court and to serve a copy upon the
plaintiff's attorney, as follows:


                              Name: MARK D MOLNER
                              Address: 300 E 39TH STREET SUITE 1G
                                       KANSAS CITY, MO 64111
                              Phone: (816) 200-2573


Within 30 days after service of summons upon you.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
attached petition, which is incorporated herein by reference. Any related claim which you may have
against the plaintiff must be stated as a counterclaim in your answer, or you will thereafter be barred
from making such claim in any other action.




                                                             /s/ Jennie Leach
                                                             Clerk of the District Court


Dated: November 1, 2021




                 Johnson County Court House, 150 W. Santa Fe St., Olathe, KS 66061
                                                              Clerk of the District Court, Johnson County Kansas
                                                                                            11/1/2021 14:11:02 HS
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                                                                            21CV05221
                                                                            Div11




                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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                                       Clerk of the District Court, Johnson County Kansas
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Civil CASE HISTORY
        Case         (ROA)
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                                    Document 5 Filed 11/19/21 Page 69 of 69




 Johnson County Kansas District
 Court
 CASE NO 21CV05221 GOOD vs. TRANSUNION LLC ET AL
 Div/Judge 11/PAUL C GURNEY
 Chapter 60
 Nature OTHER NON-DOMESTIC (60)
 Status PENDING

 11/19/2021 FILE STAMP 11/19/21, NOTICE OF FILING OF A NOTICE OF
            REMOVAL
 11/19/2021 ELECTRONIC ENTRY OF APPEARANCE BY STEVEN WADE
            BROOKRESON, II AS A DEFENSE ATTORNEY FOR UNITED STATES
            DEPARTMENT OF EDUCATION
 11/01/2021 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED
            MAIL "HIGHER EDUCATION LOAN AUTHORITY OF THE STATE OF
            MISSOURI (MOHELA)" E/S
 11/01/2021 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED
            MAIL "UNITED STATES DEPARTMENT OF EDUCATION" E/S
 11/01/2021 PETITION AND SUMMONS ISSUED TO ATTORNEY FOR CERTIFIED
            MAIL "TRANSUNION LLC" E/S
 11/01/2021 FILE STAMP 10/29/21 04:04pm, REQUEST AND SERVICE
            INSTRUCTION FORM
 11/01/2021 FILE STAMP 10/29/21 04:04pm, REQUEST AND SERVICE
            INSTRUCTION FORM
 11/01/2021 FILE STAMP 10/29/21 04:04pm, REQUEST AND SERVICE
            INSTRUCTION FORM
 11/01/2021 FILE STAMP 10/29/21, PETITION FOR DAMAGES
 11/01/2021 JUDGE PAUL C GURNEY ASSIGNED TO CASE
 11/01/2021 NEW CASE E-FILED; GOOD VS TRANSUNION LLC; FILING FEE
            $196.50; PAID BY MOLNER, MARK D, RECEIPTED AMOUNT $196.50,
            E-PAYMENT NO: 101017684




http://jimsweb/JIMSINQUIRY/civroaprn.aspx?SORT=DES                         11/19/2021
